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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                                            §
v.                                          §   NO. 3:17-CR-0018-K
                                            §
NATHANIAL SMITH                             §
                                            §
Defendant


             MEMORANDUM ADOPTING REPORT AND
     RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       The Court referred the request for revocation of Defendant’s Supervised Release

to United States Magistrate Judge Rebecca Rutherford for consideration. The Court

has received the Report and Recommendation of the United States Magistrate Judge

pursuant to its order. Defendant having waived allocution before this Court as well as

his right to object to the Report and Recommendation of the United States Magistrate

Judge, the Court is of the opinion that the findings and conclusions of the Magistrate

Judge are correct.

       It is, therefore, ORDERED that the Magistrate Judge’s Report is ADOPTED as

the opinion and findings of the Court. It is further ORDERED that the Defendant be

committed to the custody of the Bureau of Prisons to be imprisoned for a term of




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12 months and 1 day. No term of Supervised Release to follow.

      SO ORDERED.

      Signed October 14th, 2021.

                                     _______________________________________
                                     ED KINKEADE
                                     UNITED STATES DISTRICT JUDGE




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